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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                          CIVIL ACTION NO.
                                                    1:18-CV-04054-JPB
 REAL PROPERTY LOCATED AT 3306
 BAY VIEW DRIVE, JONESBORO, GA,
 et al.,

               Defendants.

                                          ORDER

       On May 17, 2019, the proceedings in this matter were stayed pending resolution of

Claimant Mitzi Bickers’s criminal case, which is pending before Judge Steve C. Jones of

the United States District Court for the Northern District of Georgia. [Doc. 46]. Because

there is no indication when the criminal case will be resolved, in the interest of judicial

economy, the Clerk is DIRECTED to ADMINISTRATIVELY CLOSE this case for

docket management purposes. Administrative closure will not prejudice the rights of the

parties to this litigation in any manner nor preclude the filing of documents. The case

shall remain administratively closed until the criminal case has been resolved.

       SO ORDERED this 17th day of March, 2021.
